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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

GILBERT GONZALES, Individually                 §
and on Behalf of All Others Similarly          §
Situated,                                      §
                                               §
                      Plaintiff,               §
                                               §
v.                                             §         CIVIL NO. 5:20-CV-0568-JKP
                                               §
QUALITY RESIDENTIAL & COM-                     §
MERCIAL PAINTING, INC., and                    §
RICHARD ZARAZINSKI.,                           §
                                               §
                      Defendants.              §

                                   ORDER OF DISMISSAL

       Plaintiff commenced this action as a collective action under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201, et seq. See Orig. Compl. (ECF No. 1). The Court has under consid-

eration the parties’ Joint Motion for Approval of Settlement Agreement and Dismissal of Case

with Prejudice (ECF No. 14). A review of the submitted motion and copy of the Settlement

Agreement shows that the parties have a bona fide FLSA dispute over hours worked and com-

pensation owed. In accordance with the Court’s review and consideration of the applicable law

and the matters presented in the motion, the Court GRANTS the joint motion, FINDS the exist-

ence of a bona fide FLSA dispute in this case, and APPROVES the parties’ settlement and their

Settlement Agreement as a fair and reasonable resolution of the Parties’ bona fide disputes.

       Accordingly, pursuant to Fed. R. Civ. P. 41(a)(2), the Court DISMISSES this action in

its entirety with prejudice with respect to all claims by Plaintiff Gilbert Gonzales. Each party

shall bear their own attorney’s fees and costs. With respect to putative class members, the Court

DISMISSES this action without prejudice to pursuit of their claims in a different case. The Set-
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tlement Agreement does not release or waive any rights of any putative member of the collective

action, other than Plaintiff.

        To the extent Fed. R. Civ. P. 58(a) requires a separate final judgment, this order of dis-

missal constitutes the final judgment in this case and the Court directs the Clerk of Court to

close this case.

        IT IS SO ORDERED this 15th day of December 2020.




                                      JASON PULLIAM
                                      UNITED STATES DISTRICT JUDGE




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